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10
     Attorneys for the Defendants Valliance Bank,
11   Shelby Bruhn,and Katherine S. Bruhn

12                        IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF ARIZONA
13
     In re:                                                 Chapter 7 Proceedings
14
     SKYLER AARON COOK,                                     Case No. 2:20-bk-01730-EFB
15
                                  Debtor.
16
17   JAMES E. CROSS, TRUSTEE,
                                                            Adversary No. 2:21-ap-00336-EFB
18                                Plaintiff,
19
     vs.
                                                            THIRD AMENDED NOTICE OF
20                                                          DEPOSITION OF BRAD JOHNSON
     VALLIANCE BANK, SHELBY BRUHN, and
21   KATHERINE S. BRUHN,
22
                                  Defendants.
23
24            PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30(b)(6), made

25   applicable in bankruptcy cases by Federal Rule of Bankruptcy Procedure 7030, Defendants Valliance
26   Bank, Shelby Bruhn and Katherine S. Bruhn, by and through undersigned counsel, will take the
27
     deposition of Brad Johnson (aka Black Dog Homes & Ohana Waiwai LLC) by stenographic and
28
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     audiovisual means upon oral examination before an officer authorized to administer oaths at the
 1
 2   following designated time and place (being amended from October 26, 2023 at 9:00 a.m.):

 3            DATE:                           December 19, 2023

 4            TIME:                           9:00 a.m. C.T.
 5            LOCATION:                       Crawford, Wishnew & Lang PLLC
 6                                            1700 Pacific Ave., Suite
                                              2390 Dallas, Texas 75201
 7
              The deposition will begin on December 19, 2023, at 09:00 a.m. C.T., as noted above, and
 8
     continue until completed, up to a maximum of seven hours. You are requested to cause the witness
 9
     to appear as described in this Notice.
10
11            RESPECTFULLY SUBMITTED this 19th day of October, 2023.

12
                                                         POLSINELLI PC
13
                                                         By: /s/ Michael A. Campbell
14                                                          John Craiger
15                                                          Matthew S. Layfield
                                                            Michael A. Campbell
16                                                          Nick A. Griebel

17                                                             Attorneys for Defendants Valliance Bank,
                                                               Shelby Bruhn, and Katherine S. Bruhn
18
19           I hereby certify that on October 19, 2023, I electronically transmitted the attached document
     to the Clerk's Office using the CM/ECF System for filing and transmittal of a Notice of Electronic
20   Filing to all CM/ECF registrants, which constitutes service, pursuant to L.R. Bankr. P. 9076-1:

21
     /s/ Rebecca O’Brien
22
23
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28
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